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UNITED STATES DISTRICT COURT. a
SOUTHERN DISTRICT OF. FLORIDA

“Gabe No. 1 22- CR-20152 «MM

¢ a.
i
.

_ UNITED STATES OF waite
VS. ,
‘BLIZABETH HERNANDEZ, pe

Defendant,
_/ -

| VERDICT FORM

We, the jury,: unaniméusly find as follows as to the Charges against Defendant Blizabeth ,
~ Hernandez: : ys poe . a .

f

: - Ae As ti to Count 1 of f the Indictment, , conspiracy. to commit health care fraud and wire fraud, “: a a

- Guilty) ee "Not Guilty. —

If your verdict i is Guilty, a answer the next question:

We, the j jury; unanimously find the. following to be the Objects 0 of the Conspiracy (choose. oO
one): . be : - .-

“Health Care Fraud:
Wire Fraud | 4 me
‘Both Health Care Fraud and Wire Fraud

2. As to Count 2of i ahs halt care = rata ré: J We :

Guilty Not Guilty

: 3. As.to Count 3 of the Indictment, health care fraud (9/15/2030), te: P.K.

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4, As to Count 4 of the Indictment, health care fraud (9/16/2020), re: P.K.

x

Guilty Not Guilty

5. As to Count 5 of the Indictment, health care fraud (10/9/2020), re: J.W.

Guilty Not Guilty

6. As to Count 6 of the Indictment, health care fraud (10/ 15/2020), re: MLN.

x

Guilty Not Guilty

7. As to Count 7 of the Indictment, health care fraud (10/27/2020), re: MLN.

x

Guilty Not Guilty

8. As to Count 8 of the Indictment, false statements in connection with health care benefits
' (3/27/2019), re: D.D.

xX

Guilty Not Guilty

9. As to Count 9 of the Indictment, false statements in connection with health care benefits
(6/23/2020), re: R.C. ,

Guilty Not Guilty

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_ ‘10, As to Count 10 of the Indictment, false statements in connection with health care benefits

" (7/23/2020), re: A.R.

“Guilty

SO SAY WE ALL

Not Guilty

Signed:

FOREPERJON OF THE JURY

Dated: Sepy 0™ , 2023

